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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


  ELEANOR F. PALMISANO,                              Case No.:

                Plaintiff,
                                                     JURY TRIAL DEMANDED
        v.

  IMMUNOMEDICS, INC., BEHZAD                         COMPLAINT FOR VIOLATIONS OF
  AGHAZADEH, BARBARA DUNCAN,                         FEDERAL SECURITIES LAWS
  ROBERT AZELBY, PETER BARTON
  HUTT, CHARLES BAUM, KHALID
  ISLAM, and SCOTT CANUTE,

                Defendants.


        Plaintiff, by her undersigned attorneys, for this complaint against defendants, alleges

 upon personal knowledge with respect to herself, and upon information and belief based upon,

 inter alia, the investigation of counsel as to all other allegations herein, as follows:

                                         BACKGROUND

       1.       This action concerns a proposed transaction announced on September 13, 2020,

pursuant to which Immunomedics, Inc. (“Immunomedics” or “the Company”) will be acquired

by Gilead Sciences, Inc. (“Gilead”).

       2.       On September 13, 2020, Immunomedics’ Board of Directors (the “Board” or

“Individual Defendants”) caused the Company to enter into an agreement and plan of merger (the

“Merger Agreement”), pursuant to which Maui Merger Sub, Inc., a wholly-owned subsidiary of

Gilead, commenced a tender offer to purchase all of Immunomedics’ outstanding common stock

for $88.00 per share in cash (the “Tender Offer”).

       3.       On September 24, 2020, in order to convince Immunomedics’s stockholders to

tender their shares, defendants authorized the filing of a materially incomplete and misleading
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Schedule 14D-9 Solicitation/Recommendation Statement (the “Solicitation Statement”) with the

United States Securities and Exchange Commission (“SEC”).

       4.        The Solicitation Statement omits material information with respect to the Tender

Offer, which renders the Solicitation Statement false and misleading.       Accordingly, Plaintiff

alleges herein that defendants violated Sections 14(d), 14(e), and 20(a) of the Securities Exchange

Act of 1934 (the “1934 Act”) in connection with the Solicitation Statement.

       5.        In addition, the Tender Offer is scheduled to expire one-minute following

11:59 p.m., Eastern Time, on October 22, 2020 (the “Expiration Time”). It is imperative that the

material information that has been omitted from the Solicitation Statement is disclosed to the

Company’s stockholders prior to the Expiration Time so they can properly determine whether to

tender their shares.

                                   JURISDICTION & VENUE

       6.        This Court has jurisdiction over the claims asserted herein pursuant to Section

27 of the 1934 Act and 28 U.S.C. §1331 because the claims asserted herein arise under Sections

14(d), 14(e) and 20(a) of the 1934 Act and Rule 14d-9.

       7.        This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in this District, or is an individual with sufficient minimum

contacts with this District so as to make the exercise of jurisdiction by this Court permissible

under traditional notions of fair play and substantial justice.

       8.        Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C.

§ 78aa, as well as under 28 U.S.C. § 1391, because, among other things: (a) the conduct at issue

will have an effect in this District; (b) a substantial portion of the transactions and wrongs

complained of herein, occurred in this District; and (c) certain defendants have received




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substantial compensation in this District by doing business here and engaging in numerous

activities that had an effect in this District. Additionally, the Company’s common stock trades

on the NASDAQ, which is headquartered in this District.

                                        THE PARTIES

       9.       Plaintiff is, and has been continuously throughout all times relevant hereto, an

owner of Immunomedics common stock.

       10.      Defendant Immunomedics is a Delaware corporation and a party to the Merger

Agreement. Immunomedics common stock is traded on the NASDAQ under the ticker symbol

“IMMU.”

       11.      Defendant Bezhad Aghazadeh is Chairman of the Board of the Company.

       12.      Defendant Barbara Duncan is a director of the Company.

       13.      Defendant Robert Azelby is a director of the Company.

       14.      Defendant Peter Barton Hutt is a director of the Company.

       15.      Defendant Charles Baum is a director of the Company.

       16.      Defendant Khalid Islam is a director of the Company.

       17.      Defendant Scott Canute is a director of the Company

                                            FACTS

       18.      Immunomedics is a leader in next-generation antibody-drug conjugate (ADC)

technology, committed to help transform the lives of people with hard-to-treat cancers. The

Company’s proprietary ADC platform centers on using a novel linker that does not require an

enzyme to release the payload to deliver an active drug inside the tumor cell and the tumor

microenvironment, thereby producing a bystander effect. Trodelvy, the company’s lead ADC, is




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the first ADC the FDA has approved for the treatment of people with metastatic triple-negative

breast cancer and is also the first FDA-approved anti-Trop-2 ADC.

       19.      Gilead is a research-based biopharmaceutical company that discovers, develops

and commercializes innovative medicines in areas of unmet medical need. Gilead strives to

transform and simplify care for people with life-threatening illnesses around the world. Gilead

has operations in more than 35 countries worldwide, with headquarters in Foster City, California.

       20.      On September 13, 2020, Immunomedics’ Boards caused the Company to enter

into the Merger Agreement.

       21.      According to the press release announcing the Tender Offer:

       Foster City, Calif. & Morris Plains, N.J., September 13, 2020 – Gilead Sciences,
       Inc. (Nasdaq: GILD) and Immunomedics (Nasdaq: IMMU) announced today that
       the companies have entered into a definitive agreement pursuant to which Gilead
       will acquire Immunomedics for $88.00 per share in cash. The transaction, which
       values Immunomedics at approximately $21 billion, was unanimously approved by
       both the Gilead and Immunomedics Boards of Directors and is anticipated to close
       during the fourth quarter of 2020.

        The agreement will provide Gilead with TrodelvyTM (sacituzumab govitecan-
       hziy), a first-in-class Trop-2 directed antibody-drug conjugate (ADC) that was
       granted accelerated approval by the U.S. Food and Drug Administration (FDA) in
       April for the treatment of adult patients with metastatic triple -negative breast
       cancer (mTNBC) who have received at least two prior therapies for metastatic
       disease. Immunomedics plans to submit a supplemental Biologics License
       Application (BLA) to support full approval of Trodelvy in the United States in the
       fourth quarter of 2020. Immunomedics is also on track to file for regulatory
       approval in Europe in the first half of 2021.

       In the Phase 3 ASCENT study, which was halted early due to efficacy based on the
       unanimous recommendation of the independent Data Safety Monitoring
       Committee, Trodelvy significantly improved progression-free survival (PFS) and
       overall survival (OS) in previously treated patients with advanced mTNBC.
       Detailed results from this study are expected to be presented at the upcoming
       European Society for Medical Oncology (ESMO) Virtual Congress 2020.

       Beyond mTNBC, Trodelvy is also being studied in an ongoing Phase 3 trial in third
       line HR+/HER2- breast cancer and a registrational Phase 2 study in bladder cancer.
       Additional ongoing studies are evaluating the potential of Trodelvy as a treatment



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for non-small cell lung cancer and other solid tumor types. Trodelvy is being
studied as both a monotherapy and in combination with checkpoint inhibitors and
other non-immuno-oncology products by Immunomedics and independent
investigators. Additional clinical data for Trodelvy in bladder cancer and other solid
tumors will also be presented at ESMO this coming week.

 “This acquisition represents significant progress in Gilead’s work to build a strong
and diverse oncology portfolio. Trodelvy is an approved, transformational
medicine for a form of cancer that is particularly challenging to treat. We will now
continue to explore its potential to treat many other types of cancer, both as a
monotherapy and in combination with other treatments,” said Daniel O’Day,
Chairman and Chief Executive Officer, Gilead Sciences. “We look forward to
welcoming the talented Immunomedics team to Gilead so we can continue to
advance this important new medicine for the benefit of patients with cancer
worldwide.”

 “We are very pleased that Gilead recognized the value of Trodelvy – both for the
important role it has already begun to play for patients with metastatic triple-
negative breast cancer and for its potential to help many other patients with cancer
in the future,” said Behzad Aghazadeh, MD, Executive Chairman of
Immunomedics. “We are excited for the opportunities ahead of us as we join with
Gilead to advance our shared mission in defeating cancer. By working with Gilead,
we have the opportunity to accelerate our progress and improve care for patients in
need of new therapies.”

                                         ***

Transaction Terms and Financing

Under the terms of the merger agreement, a wholly-owned subsidiary of Gilead will
promptly commence a tender offer to acquire all of the outstanding shares of
Immunomedics’ common stock. The $88.00 per share acquisition price represents
a 108 percent premium to Immunomedics’ closing price on September 11, 2020.
Following successful completion of the tender offer, Gilead will acquire all
remaining shares not tendered in the offer through a second step merger at the same
price as the tender offer.

The consummation of the tender offer is subject to various conditions, including a
minimum tender of at least a majority of outstanding Immunomedics shares, the
expiration or termination of the waiting period under the Hart-Scott-Rodino
Antitrust Improvements Act and other customary conditions.

The tender offer is not subject to a financing condition and will be funded through
approximately $15 billion in cash on hand, as well as approximately $6 billion in
newly issued debt. Gilead expects to retain an investment grade credit rating




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       following this transaction and this agreement does not alter Gilead’s stated capital
       allocation strategy or its commitment to maintain and grow its dividend over time.

       Lazard and Morgan Stanley & Co. LLC are acting as financial advisors to Gilead.
       Centerview Partners LLC and BofA Securities are acting as financial advisors to
       Immunomedics. Cowen & Company, LLC also provided advice to Immunomedics.
       Davis Polk & Wardwell LLP is serving as legal counsel to Gilead and Wachtell,
       Lipton, Rosen & Katz is serving as legal counsel to Immunomedics.

       22.      The Offer Price is unfair because, among other things, the intrinsic value of the

Company is in excess of the amount the Company’s stockholders will receive in connection with

the Tender Offer.

       23.      It is therefore imperative that the Company’s common stockholders receive the

material information that defendants have omitted from the Solicitation Statement so that they

can meaningfully assess whether to tender their shares.

       24.      Section 5.03 of the Merger Agreement provides for a no solicitation clause that

prevents Immunomedics from soliciting alternative proposals and constraints its ability to

negotiate with potential buyers:

       (a)        Except as permitted by this Section 5.03, during the Pre-Closing Period,
       the Acquired Companies shall not, and shall cause their officers and directors not
       to, and shall use reasonable best efforts to cause their other Representatives not to,
       directly or indirectly, (i) continue any solicitation, knowing encouragement,
       discussions or negotiations with any Persons that may be ongoing with respect to
       an Acquisition Proposal; (ii) (A) solicit, initiate or knowingly facilitate or
       encourage (including by way of furnishing non-public information) any inquiries
       regarding, or the making of any proposal or offer that constitutes, or would
       reasonably be expected to lead to, an Acquisition Proposal (other than discussions
       solely to clarify the terms and conditions of such proposal or offer), (B) engage in,
       continue or otherwise participate in any discussions or negotiations regarding, or
       furnish to any other Person any non-public information in connection with, or for
       the purpose of soliciting or knowingly encouraging or facilitating, an Acquisition
       Proposal or any proposal or offer that would reasonably be expected to lead to an
       Acquisition Proposal (other than to state that the terms of this provision prohibit
       such discussion), (C) approve, adopt, endorse or recommend or enter into any letter
       of intent, acquisition agreement, agreement in principle or similar agreement with
       respect to an Acquisition Proposal or any proposal or offer that would reasonably
       be expected to lead to an Acquisition Proposal (other than an Acceptable



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       Confidentiality Agreement) or (D) take any action to exempt any Person (other than
       Parent and its Subsidiaries) from the restrictions on “business combinations” or any
       similar provision contained in applicable Takeover Laws or the Company’s
       organizational and other governing documents; (iii) subject to the fiduciary duties
       of the Board of Directors, waive or release any Person from, forebear in the
       enforcement of, or amend any standstill agreement or any standstill provisions of
       any other Contract; or (iv) resolve or agree to do any of the foregoing. As promptly
       as reasonably practicable (and in any event within two business days) following the
       date hereof, the Company shall discontinue electronic or physical data room access
       granted, and request the prompt return or destruction (to the extent provided for by
       the applicable confidentiality agreement) of all non-public information or
       documents previously furnished to any Person (other than Parent, its Affiliates and
       their respective Representatives) that has made or has indicated an intention to
       make an Acquisition Proposal and all material incorporating such information
       created by any such Person.

       25.      In addition, Section 8.03 of the Merger Agreement requires Immunomedics to

pay a $732,052,638. “termination fee” to Gilead in the event this agreement is terminated by

Immunomedics and improperly constrains the Company from obtaining a superior offer.

       26.      Defendants filed the Solicitation Statement with the SEC in connection with the

Tender Offer. As alleged herein, the Solicitation Statement omits material information, which

renders the Solicitation Statement false and misleading.

       27.      First, the Solicitation Statement omits material information regarding

Immunomedics’ financial projections.

       28.      With respect to Immunomedics’ financial projections, the Solicitation Statement

fails to disclose (i) all line items used to calculate (a) unlevered free cash flow and (b) EBIT, (ii)

the risk adjustments made to the projections, and (iii) the un-risk adjusted projections. The

Solicitation Statement also fails to disclose a reconciliation of all non-GAAP to GAAP metrics.

       29.      The disclosure of projected financial information is material information

necessary for Immunomedics stockholders to gain an understanding of the basis for any

projections as to the future financial performance of the company. In addition, this information




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is material and necessary for stockholders to understand the financial analyses performed by the

Company’s financial advisors rendered in support of any fairness opinion.

       30.       Second, the Solicitation Statement omits material information regarding the

analysis performed by the Company’s financial advisors Centerview Partners LLC

(“Centerview”) and BofA Securities, Inc. (“BofA”) in connection with the Tender Offer.

       31.       With respect to Centerview’s Selected Public Company Analysis, the Solicitation

Statement fails to disclose: (i) the individual metrics for the individual companies observed by

Centerview in the analysis, (ii) the inputs and assumptions underlying the selection of a multiple

range of 4.0x to 6.0x for 2024E revenue multiples, and (iii) the Company’s fully diluted

outstanding shares. This information must be disclosed to make the Solicitation Statement not

materially misleading to Immunomedics stockholders and provide stockholders with full and

relevant information in considering whether to tender their shares.

       32.       With respect to Centerview’s Selected Precedent Transaction Analysis, the

Solicitation Statement fails to disclose: (i) the individual metrics for the transactions observed by

Centerview in the analysis and (ii) Centerview’s full basis for applying four-year forward revenue

multiple range of 5.0x to 8.0x. This information must be disclosed to make the Solicitation

Statement not materially misleading to Immunomedics stockholders and provide stockholders

with full and relevant information in considering whether to tender their shares.

       33.       With respect to Centerview’s Discounted Cash Flow Analysis, the Solicitation

Statement fails to disclose: (i) all line items used to calculate unlevered free cash flow, (ii)

Centerview’s full basis for applying the discount rates ranging from 9.0% to 11.0%, (iii) the

Company’s terminal value, and (iv) Centerview’s full basis for assuming that unlevered free cash

flow would decline in perpetuity after December 31, 2034 at a rate of free cash flow decline of




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30.0% year-over-year for Trodelvy and IMMU-130, increase 5% year-over-year in perpetuity for

the Company’s SN-38 antibody-drug conjugate platform, and increase 3% year-over-year for

other corporate items. This information must be disclosed to make the Solicitation Statement not

materially misleading to Immunomedics stockholders and provide stockholders with full and

relevant information in considering whether to tender their shares.

       34.      With respect to Centerview’s Analyst Price Target Analysis, the Solicitation

Statement fails to disclose: (i) the price targets observed in the analysis, and (ii) the sources of

the price targets observed in the analysis. This information must be disclosed to make the

Solicitation Statement not materially misleading to Immunomedics stockholders and provide

stockholders with full and relevant information in considering whether to tender their shares.

       35.      With respect to Centerview’s Premiums Paid Analysis, the Solicitation Statement

fails to disclose the premiums paid in the transactions observed by Centerview in the analysis.

This information must be disclosed to make the Solicitation Statement not materially misleading

to Immunomedics stockholders and provide stockholders with full and relevant information in

considering whether to tender their shares.

       36.      With respect to BofA’s Selected Public Company Analyses, the Solicitation

Statement fails to disclose: (i) the individual metrics for the individual companies observed by

BofA in the analysis, and (ii) the inputs and assumptions underlying the selection of a multiple

range of 3.00x to 5.00x for 2024 PoS adjusted public company revenue multiples.                This

information must be disclosed to make the Solicitation Statement not materially misleading to

Immunomedics stockholders and provide stockholders with full and relevant information in

considering whether to tender their shares.

       37.      With respect to BofA’s Selected Precedent Transaction Analysis, the Solicitation




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Statement fails to disclose: (i) the individual metrics for the transactions observed by BofA in the

analysis and (ii) BofA’s full basis for applying CY+4 PoS adjusted transaction revenue multiple

range of 4.40x to 6.60x. This information must be disclosed to make the Solicitation Statement

not materially misleading to Immunomedics stockholders and provide stockholders with full and

relevant information in considering whether to tender their shares.

       38.       With respect to BofA’s Discounted Cash Flow Analysis, the Solicitation

Statement fails to disclose: (i) the estimated value of (a) the gross profit expected to be generated

by the Company for Trodelvy in metastatic triple negative breast cancer, (b) the gross profit

expected to be generated by the Company for Trodelvy in metastatic urothelial cancer, (c) the

gross profit expected to be generated by the Company for Trodelvy in estrogen receptor positive

metastatic breast cancer, (d) the gross profit expected to be generated by the Company for

Trodelvy in metastatic non-small cell lung cancer, (e) the gross profit expected to be generated

by the Company for other Trodelvy indications, (f) the corporate expenses allocated to Trodelvy,

(g) the royalties and milestone payment amounts, (h) the gross profit expected to be generated by

the Company for IMMU-130, (i) the corporate expenses allocated to IMMU-130, (j) the

probability of success adjusted earnings before income taxes allocated to the Company’s ADC

platform, (k) the unallocated corporate expenses and cash flow items, and (l) the Company

group’s taxes; (ii) the terminal values for each of these items; (iii) BofA’s basis for applying

perpetuity growth rates ranging from negative 30.0% to negative 25.0%, 3.0% to 5.0%, and 0.0%

to 2.0%; (iv) the individual inputs and assumptions underlying the discount rates ranging from

8.5% to 11.0%; (v) the NOLs and Federal R&D Tax Credits used in the analysis; and (vi) the

Company’s fully diluted shares. This information must be disclosed to make the Solicitation

Statement not materially misleading to Immunomedics stockholders and provide stockholders




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with full and relevant information in considering whether to tender their shares.

       39.      With respect to BofA’s Analysis Price Target, the Solicitation Statement fails to

disclose: (i) the price targets observed in the analysis, and (ii) the sources of the price targets

observed in the analysis. This information must be disclosed to make the Solicitation Statement

not materially misleading to Immunomedics stockholders and provide stockholders with full and

relevant information in considering whether to tender their shares.

       40.      With respect to BofA’s Premiums Paid Analysis, the Solicitation Statement fails

to disclose the premiums paid in the transactions observed by BofA in the analysis. This

information must be disclosed to make the Solicitation Statement not materially misleading to

Immunomedics stockholders and provide stockholders with full and relevant information in

considering whether to tender their shares.

       41.      The omission of the above-referenced material information renders the

Solicitation Statement false and misleading.

       42.      The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s stockholders.

                                    CLAIMS FOR RELIEF

                                              COUNT I

   (AGAINST ALL DEFENDANTS FOR VIOLATIONS OF SECTION 14(e) OF THE
                         EXCHANGE ACT)

       43.      Plaintiff incorporates each and every allegation set forth above as if fully set

forth herein.

       44.      Section 14(e) of the 1934 Act states, in relevant part, that:

       It shall be unlawful for any person to make any untrue statement of a material fact
       or omit to state any material fact necessary in order to make the statements made,
       in the light of the circumstances under which they are made, not misleading . . . in



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       connection with any tender offer or request or invitation for tenders[.]

       45.        Defendants disseminated the misleading Solicitation Statement, which contained

statements that, in violation of Section 14(e) of the 1934 Act, in light of the circumstances under

which they were made, omitted to state material facts necessary to make the statements therein

not misleading.

       46.        The Solicitation Statement was prepared, reviewed, and/or disseminated by

defendants.

       47.        The Solicitation Statement misrepresented and/or omitted material facts in

connection with the Tender Offer as set forth above.

       48.        By virtue of their positions within the Company and/or roles in the process and

the preparation of the Solicitation Statement, defendants were aware of this information and their

duty to disclose this information in the Solicitation Statement.

       49.        The omissions in the Solicitation Statement are material in that a reasonable

shareholder will consider them important in deciding whether to tender their shares in connection

with the Tender Offer. In addition, a reasonable investor will view a full and accurate disclosure

as significantly altering the total mix of information made available.

       50.        Defendants knowingly or with deliberate recklessness omitted the material

information identified above in the Solicitation Statement, causing statements therein to be

materially incomplete and misleading.

       51.        By reason of the foregoing, defendants violated Section 14(e) of the 1934 Act.

       52.        Because of the false and misleading statements in the Solicitation Statement,

plaintiff is threatened with irreparable harm.

       53.        Plaintiff has no adequate remedy at law.




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                                             COUNT II

   (AGAINST ALL DEFENDANTS FOR VIOLATIONS OF SECTION 14(d) OF THE
      EXCHANGE ACT AND RULE 14d-9 PROMULGATED THEREUNDER)

       54.       Plaintiff incorporates each and every allegation set forth above as if fully set

forth herein.

       55.      Section 14(d)(4) of the 1934 Act states:

       Any solicitation or recommendation to the holders of such a security to accept or
       reject a tender offer or request or invitation for tenders shall be made in accordance
       with such rules and regulations as the Commission may prescribe as necessary or
       appropriate in the public interest or for the protection of investors.

       56.      Rule 14d-9(d) states, in relevant part:

       Any solicitation or recommendation to holders of a class of securities referred to in
       section 14(d)(1) of the Act with respect to a tender offer for such securities shall
       include the name of the person making such solicitation or recommendation and
       the information required by Items 1 through 8 of Schedule 14D-9 (§ 240.14d-101)
       or a fair and adequate summary thereof[.]

Item 8 requires that directors must “furnish such additional information, if any, as may be

necessary to make the required statements, in light of the circumstances under which they are

made, not materially misleading.”

       57.      The Solicitation Statement violates Section 14(d)(4) and Rule 14d-9 because it

omits the material facts set forth above, which renders the Solicitation Statement false and/or

misleading.

       58.      Defendants knowingly or with deliberate recklessness omitted the material

information set forth above, causing statements therein to be materially incomplete and

misleading.

       59.      The omissions in the Solicitation Statement are material to plaintiff, and who will

be deprived of her right to make a fully informed decision with respect to the Tender Offer if




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such misrepresentations and omissions are not corrected prior to the expiration of the Tender

Offer.

                                              COUNT III

         (AQGENST THE INDIVIDUAL DEFENDANTS FOR VIOLATIONS OF
                   SECTION 20(a) OF THE EXCHANGE ACT)

          60.     Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          61.     The Individual Defendants acted as controlling persons of the Company within

the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions

as directors of the Company, and participation in and/or awareness of the Company’s operations

and/or intimate knowledge of the incomplete and misleading statements contained in the

Solicitation filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that Plaintiff contends are materially incomplete and

misleading.

          62.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Solicitation Statement and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the

issuance of the statements or cause the statements to be corrected.

          63.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The omitted information identified above was

reviewed by the Board prior to voting on the Tender Offer. The Solicitation Statement at issue



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contains the unanimous recommendation of the Board to approve the Tender Offer. The

Individual Defendants were thus directly involved in the making of the Solicitation Statement.

       64.       In addition, as the Solicitation sets forth at length, and as described herein, the

Individual Defendants were involved in negotiating, reviewing, and approving the Merger

Agreement. The Solicitation purports to describe the various issues and information that the

Individual Defendants reviewed and considered. The Individual Defendants participated in

drafting and/or gave their input on the content of those descriptions.

       65.       By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       66.       As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(e) and 14(d) and

Rule 14d-9, by their acts and omissions as alleged herein. By virtue of their positions as

controlling persons, these defendants are liable pursuant to Section 20(a) of the Exchange Act.

As a direct and proximate result of Individual Defendants’ conduct, Plaintiff will be irreparably

harmed.

       67.       Plaintiff has no adequate remedy at law.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for judgment and relief as follows:

          A.      Preliminarily and permanently enjoining defendants and all persons acting in

 concert with them from proceeding with, consummating, or closing the Tender Offer;

          B.      In the event defendants consummate the Tender Offer, rescinding it and setting

 it aside or awarding rescissory damages;

          C.      Directing the Individual Defendants to disseminate a Solicitation Statement that




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 does not contain any untrue statements of material fact and that states all material facts required

 in it or necessary to make the statements contained therein not misleading;

        D.      Declaring that defendants violated Sections 14(e) and/or 20(d) of the 1934 Act,

 as well as Rule 14d-9 promulgated thereunder;

        E.      Awarding Plaintiff the costs of this action, including reasonable allowance for

 Plaintiff’s attorneys’ and experts’ fees; and

        F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

        Plaintiff hereby requests a trial by jury on all issues so triable.

Dated: October 7, 2020                           MOORE KUEHN, PLLC

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